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 1                             UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                      )
 4                                                  )
                         Plaintiff,                 )         Case No.: 13-cr-124-APG-PAL
 5
           vs.                                      )
 6                                                  )                     ORDER
     REUEN CONWAY,                                  )
 7                                                  )
                         Defendant.                 )
 8                                                  )
 9
10
            On July 15, 205, defendant Reuben Conway filed a letter (Dkt. #50), which I interpret as
11
     a motion, requesting that I order the Bureau of Prisons to credit him with time served on his
12
     state court sentence. I sentenced Mr. Conway to "30 months, concurrent, with the state court
13
     sentence imposed in the Nevada 8th Judicial District Court, Clark County Nevada, Case No.
14
     12-285871. Further, the defendant shall be given credit for time served in federal custody on a
15
     Writ of Habeas Corpus pursuant to USSG § 5G1.3(b)(1) and (2)." (Dkt. #49 at 2.) It is unclear
16
     from the record how much time Mr. Conway served in federal custody on the Writ. Nor is it
17   clear from the record how much credit Mr. Conway is entitled to receive for time served on his
18   state court sentence. The government has not filed a response to Mr. Conway's letter.
19   Accordingly, the government shall file and serve a response no later than August 14, 2015.
20          Dated: August 4, 2015.
21                                                ___________________________________
22                                                Andrew P. Gordon
                                                  United States District Judge
23
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